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                                         RIDER TO SUMMONS

                              Civil Case No.: _______________________

                                    FULL COMPLAINT CAPTION:

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------X            Civil Case No.:
  MIGUEL GALVEZ BONILLA and CRISTIAN ARONY
  MARTINEZ DOMINGUEZ, individually and on behalf of all
  others similarly situated,
                                                                                  COLLECTIVE ACTION
                                                  Plaintiffs,                        COMPLAINT
              -against-
                                                                                       JURY TRIAL
  SALVATORE'S OF ELMONT PIZZERIA &                                                     DEMANDED
  RESTAURANT INC. and SALVATORE'S PIZZERIA &
  RESTAURANT OF ELMONT INC., VITO CORTESIANO,
  JOSEPH CAMPISI and ANNA ARRIGO, as individuals,

                                                  Defendants.
  --------------------------------------------------------------------------X

  via Personal Service:
  SALVATORE'S OF ELMONT PIZZERIA & RESTAURANT INC.
  312 Meacham Ave., Elmont, NY 11003
  SALVATORE'S PIZZERIA & RESTAURANT OF ELMONT INC.
  312 Meacham Ave., Elmont, NY 11003

  VITO CORTESIANO
  312 Meacham Ave., Elmont, NY 11003
  JOSEPH CAMPISI
  312 Meacham Ave., Elmont, NY 11003
  ANNA ARRIGO
  312 Meacham Ave., Elmont, NY 11003

  Service via Secretary of State:
  SALVATORE'S OF ELMONT PIZZERIA & RESTAURANT INC. (DOS ID:
  5097241)
  312 Meacham Ave., Elmont, NY 11003

  SALVATORE'S PIZZERIA & RESTAURANT OF ELMONT INC. (DOS ID:
  5118445)
  312 Meacham Ave., Elmont, NY 11003

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